             Case 23-40834-mxm7                       Doc 1       Filed 03/24/23 Entered 03/24/23 18:10:39                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                          Chapter      7
                                                                                                                             0 Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                United Home Solutions Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
                                  FDBA United Solar, LLC
     names, trade names and
     doing business as names


3.   Debtor's federal
     Employer Identification      84 331 51 81
                                      -


     Number (EIN)


4.   Debtor's address             Principal place of business                                         Mailing address, if different from principal place of
                                                                                                      business

                                  600 N. Carroll Ave.
                                  Suite 160                                                           3010 LBJ Freeway, Suite 1200
                                  Southlake, TX 76092                                                 Dallas, TX 75234
                                  Number, Street, City, State & ZIP Code                              P.O. Box, Number, Street, City, State & ZIP Code

                                  Tarrant                                                             Location of principal assets, if different from principal
                                  County                                                              place of business

                                                                                                      Number, Street, City, State & ZIP Code



5.   Debtor's website (URL)       UnitedHSG.com



6.   Type of debtor               •       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                  O Partnership (excluding LLP)

                                  0 Other. Specify:




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Debtor    United Home Solutions Group, LLC                                                           Case number Of known)
          Name



7. Describe debtor's business        A. Check one:
                                     O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     O Railroad (as defined in 11 U.S.C. § 101(44))
                                     O Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     O Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                     •   None of the above

                                     B. Check all that apply
                                     0 Tax-exempt entity (as described in 26 U.S.C. §501)
                                     O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                     O Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                     C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                       http://www.uscourts.gov/four-digit-national-association-naics-codes.



8. Under which chapter of the        Check one:
    Bankruptcy Code is the
    debtor filing?                   •   Chapter 7

     A debtor who is a "small        O Chapter 9
     business debtor" must check
                                     O Chapter 11 Check all that apply.
     the first sub-box. A debtor as
     defined in § 1182(1) who                        O The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                            $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                       operations, cash-flow statement, and federal income tax return or if any of these documents do not
     "small business debtor") must                         exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                     O The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                          O    A plan is being filed with this petition.
                                                          O    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                               accordance with 11 U.S.C. § 1126(b).
                                                          O    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                               Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                               (Official Form 201A) with this form.
                                                          O    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                     O Chapter 12

9. Were prior bankruptcy             • No.
    cases filed by or against
    the debtor within the last 8     0 Yes.
    years?
    If more than 2 cases, attach a
                                               District                                 When                                 Case number
    separate list.
                                               District                                 When                                 Case number




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Debtor     United Home Solutions Group, LLC                                                              Case number (if known)
           Name

10. Are any bankruptcy cases                • No
     pending or being filed by a
     business partner or an                 0 Yes.
     affiliate of the debtor?




      List all cases. If more than 1,
      attach a separate list                         Debtor                                                                   Relationship
                                                     District                                When                             Case number, if known


11. Why is the case filed in            Check all that apply:
      this district?
                                        •      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                               preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                        0      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or              • No
     have possession of any
     real property or personal                     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                        0 Yes.
     property that needs
     immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   0 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                    0 It needs to be physically secured or protected from the weather.

                                                    0 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                    0 Other
                                                   Where is the property?
                                                                                    Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                    1:1 No
                                                    0 Yes. Insurance agency

                                                                Contact name
                                                                Phone



           Statistical and administrative information

13. Debtor's estimation of                      Check one:
     available funds
                                                 0 Funds will be available for distribution to unsecured creditors.

                                                 • After any administrative expenses are paid, no funds will be available to unsecured creditors.


14.   Estimated number of               0 1-49                                          0 1,000-5,000                               0 25,001-50,000
      creditors                                                                         0 5001-10,000                               0 50,001-100,000
                                        • 50-99
                                        0 100-199                                       0 10,001-25,000                             0 More than100,000
                                        0 200-999


15.   Estimated Assets                  0 $0 - $50,000                                  0 $1,000,001 -$10 million                   0 $500,000,001 -$1 billion
                                        0 $50,001 -$100,000                             0 $10,000,001 -$50 million                  0 $1,000,000,001 - $10 billion
                                        • $100,001 -$500,000                            0 $50,000,001 -$100 million                 0 $10,000,000,001 -$50 billion
                                        0 $500,001 - $1 million                         0 $100,000,001 -$500 million                0 More than $50 billion


16.   Estimated liabilities             0 $0 - $50,000                                  • $1,000,001 -$10 million                   0 $500,000,001 - $1 billion


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Debtor   United Home Solutions Group, LLC                                            Case number (if known)
         Name

                           1:1 $50,001 -$100,000                      o $10,000,001 -$50 million              o  $1,000,000,001 -$10 billion
                           o  $100,001 -$500,000                      o $50,000,001 -$100 million             l=1 $10,000,000,001 -$50 billion
                           El $500,001 - $1 million                   o $100,000,001 - $500 million           O More than $50 billion




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  Debtor     United Home Solutions Group, LLC                                                        Case number Of known)
             Name



            Request for Relief, Declaration, and Signatures

  WARNING — Bankruptcy fraud Is a serious crime. Making a false statement In connection with a bankruptcy case can result in fines up to $500.000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §1 152,1341, 1519, and 3571.

  17. Declaration and signature
      of authorized                The debtor requests relief In accordance with the chapter of title 11, United States Code, specified in this petition.
      representative of debtor
                                   I have been authorized to file this petition on behalf of the debtor.

                                    have examined the information In this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct

                                  Executed on       March 24, 2023
                                                    MM DD / YYYY

                              X , '61 vto                                                                  Jonathan Landis
                                  Sionature of buthonzed representative of debtor                          Printed name

                                  "Ile    Owner. CAO-CFO




18. Signature of attorney     X                                                                             Date March 24, 2023
                                  Signature of attoThey for debtor                                               MM DD / YYYY

                                  Robert A. Simon 18390000
                                  Printed name

                                  Whitaker Chalk Swindle and Schwartz
                                  Firm name

                                  301 Commerce St. STE 3500
                                  Fort Worth, TX 76102
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      817-878-0500                  Email address     rsimon@whitakerchalk.com


                                  18390000 TX
                                  Bar number and State




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